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                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

                                       §    Chapter 11
In re:                                 §
                                       §    Case No. 24-80258
BEBCO ENVIRONMENTAL                    §
CONTROLS CORPORATION                   §
                                       §
                    Debtor.            §
                                       §




MOTION TO (A) APPROVE EMPLOYMENT OF AUCTIONEER, (B) APPROVE THE
AUCTION OF CERTAIN ASSETS OF THE DEBTOR FREE AND CLEAR OF LIENS,
  CLAIMS AND ENCUMBRANCES, AND (C) T APPROVE RELATED RELIEF

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
         AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
         RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
         FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
         THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
         THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
         TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
         FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE
         NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
         UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
         CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
         MOTION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY




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TO THE HNONRABLE ALFREDO R. PEREZ, UNITED STATES BANKRUPTCY

JUDGE:

       BEBCO ENVIRONMENTAL CONTROLS CORPORATION (“BEBCO” or the

“Debtor”) files this Motion to (A) Approve Employment of Auctioneer; (B) Approve the Auction

of Certain Assets of The Debtor Free and Clearo Of Liens, Claims and Encumbrances, and (C)

Approve Related Reli (the “Auction Sale Motion”), and in support respectfully represent as

follows:

                                                I.
                               Jurisdiction, Venue, and Authority

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b). This

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) because it concerns the administration

of these Chapter 11 estates. Further, it is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). See

In re Southmark Corp., 163 F.3d 925, 930 (5th Cir. 1999) (“[A] proceeding is core under § 157 if

it invokes a substantive right provided by title 11 or if it is a proceeding that, by its nature, could

arise only in the context of a bankruptcy case.”).

       2.      Venue of the Chapter 11 Cases and related proceedings is proper in this district

pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The bases for the relief requested herein are sections 105(a), 363, and 365 of title

11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) 2002 and 6004, and rule 9013-1 of the

Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                                II.
                                            Background

 A. History of Debtors and Events Leading Up to the Bankruptcy Proceedings.

       4.      BEBCO was organized on December12, 2012, and commenced operations in
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January 2013. BEBCO’s main business is the manufacturing and installation of a complete range

of industrial HVAC, Pressurization & Room Air Filtration systems. These systems are used in

buildings located at refineries where a spark from an air conditioning unit can have grave

consequences. BEBCO’s systems are specially designed and manufactured to be used in sensitive

and dangerous environments.

       5.       BEBCO      also conducts a separate business under the assumed name: “Best

Plugging Systems Corporation” which engages in the following described business: the

manufacturing and sale of industrial electrical enclosure pressurization and purging units

("Purging Systems Business").

       6.      For the next seven years prior to COVID, BEBCO’s business grew in fits and

spurts. During this period, Michael Baucom, BEBCO’s sole shareholder and the head of

management, supplied BEBCO with its ever-growing capital needs.

       7.      When COVID occurred, BEBCO’s business began to suffer due to a decrease in

revenue and supply chain problems. BEBCO borrowed substantial funds from its owner, Mr.

Baucom, who financed his homestead to provide BEBCO with its capital needs. BEBCO also

borrowed $150,000.o0 from the Small Business Administration, and was forced to forgo payment

of withholding taxes, which resulted in the Internal Revenue Service filing tax liens totaling in

excess of $4p0,000.00.

       8.      Today, Mr. Baucom has decided to sell BEDCO’s main business to a company

located in Houston, Texas known as Custom Controls Company ("CCC"). Mr. Baucom looked for

a good acquisition candidate, and found CCC after considering several options. However, CCC

did not desire to acquire all of the assets of the Debtor. Thus, Debtor decided that an auction of a

substantial portion of the remaining assets would be appropriate.

B. The Bankruptcy Filings
                                                 3
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       9.      On August 30, 2024 (the “Petition Date”), BEBCO filed a voluntary chapter 11

proceeding under Subchapter V in the captioned district and division (the "Bankruptcy Case").

       10.     Along with the filing of the Bankruptcy Case, the Debtor filed this Auction Sale

Motion. Debtor also filed a Motion for Authority to use Cash Collateral. Debtor intends to file a

motion to sell certain assets used in the manufacture and installation of industrial air

filtration systems to a purchaser, Custom Controls Company ("CCC") (the "CCC Sale Motion").

Debtor may also file a motion for approval of a $50,000 dip financing facility.

       11.     It is the intention of the Debtor to sell a substantial part of its assets and business to

CCC through the Sale Motion, and to sell additional assets pursuant to this Auction Sale Motion.

The Debtor also intends to either sell its Purging Systems Business or continue operating said

business after the chapter 11 plan is confirmed.

       12.     It is the intention of the Debtor to file a Plan of Reorganization ("Plan"), which

will provide for the use of the proceeds of the sales contemplated in this Auction Sale Motion, the

CCC Sale Motion and the sale or operation of the Purging Systems Business to pay off all allowed

administrative claims, all allowed, priority claims, all allowed secured claims and, hopefully, to

provide a meaningful dividend to creditors with allowed unsecured claims.

       13.      The sale of the auction assets is intended to be accomplished” by and through a

sale pursuant to 11 U.S.C. § 363(f) free and clear of all liens, claims and encumbrances, including

the liens or interests, if any, of the Debtor’s landlord, the secured claim of the IRS and the secured

claim of the SBA, with the liens of said creditors, if any, to attach to the proceeds of sale..

       14.     The Debtor submits that the contemplated auction sale will facilitate a process that

maximizes the value of the Debtor’s bankruptcy estate for all stakeholders. The Debtor submits

that the contemplated     auction procedures are reasonable and customarily approved in this

jurisdiction under similar circumstances.
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       15.     Debtor also alleges that employment of the auctioneer and the auction of assets are

in the best interests of the Debtor and its bankruptcy estate and its various constituencies of secured

and unsecured creditors.

       16.     Finally, Debtor believes that in entering into the auction sale process, management

of Debtor is exercising prudent business judgment.

                                                III.
                                         Relief Requested

       17.     Approval of the Auction Sale Contract. Debtor requests authority from the Court

to enter into the Agreement and Understanding Between Plant & Machinery, Inc. ("PMI") and

BEBCO Environmental Controls Corporation ("Auction Sale Contract"), a true and correct copy

of which is attached hereto as Exhibit “1” and is incorporated herein for all purposes.

       18.     Some of the important provisions of the Auction Sale Contract are set forth below:

        a.     PMI will conduct an online only "timed event" auction in which PMI will
               act as sales agent on behalf of the Debtor.

        b.     The auction will take place at the Debtor’s facility located at Lawndale, La
               Marque, TX 77568 (the "Facility"), generally described as: Fabrication
               machinery, paint & blast booths, indu oven, Toyota forklift, related machine
               accessories, shop support equipment, parts inventory, pallet racks, etc., as
               set forth in the Manifest of Auction Assets attached hereto as Exhibit “2”
               and incorporated herein for all purposes (the "Auction Sale Assets").

        c.     PMI will charge the Debtor for actual expenses in direct connection with
               the auction sale, which PMI estimate to be a total amount of $31,578 and
               are detailed on the attached Exhibit A to the Auction Sale Agreement. This
               amount is an estimate only, but will not vary by more than 10%. PMI has
               advised that when the above monies are properly spent, it will result in value
               added to the sale, reflected in the final sales proceeds, and therefore
               minimize the actual cost to the Debtor.

        d.     PMI shall advance the expense monies set out in the aforesaid budget and
               that it will deduct the expense monies properly paid by PMI and detailed at
               the time of settlement.

        e.     PMI will charge and retain from buyers at the auction a buyer's premium of
               15%. Bidspotter.com will provide third party webcast auction services, and
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               successful online purchasers will pay an additional 3% buyer's premium as
               the fee for using that service. (i.e. 18% in total). PMI will be responsible for
               remitting to Bidspotter.com their share of the buyer's premium collected.
               All remaining proceeds from the sale of the TPP shall be immediately
               deposited by PMI in a separate and segregated account for the benefit of the
               Debtor.

        f.     PMI will act on behalf of the Debtor as a turn-key service provider handling
               all aspects of the sale, as listed in the attached Auction Sales Contract.

       19.      Debtor will require that PMI prepare for filing with the Court a document

describing the results of the auction.

       20.     Debtor seeks Court approval of the Auction Sale Contract and the employment of

PMI as the Debtor’s authorized auctioneer.

       21.     PMI has executed a declaration in support of this Motion, which is attached hereto

as Exhibit “3”, and incorporated herein by reference.

       22.       Noticing Procedures. Within three Business Days after entry of the order on the

Expedite Motion, Debtor shall serve upon the following parties-in-interest the order approving the

Expedite Motion and the Auction Sale Motion and proposed order with exhibits by U.S. First Class

Mail, postage prepaid: (i) parties who have requested notice in these bankruptcy cases; (ii) all

known taxing authorities to which the Debtor is subject; (iii) all entities known or reasonably

believed to have asserted a lien on any Purchased Assets; ([v) those entities and individuals

appearing on the Debtors’ creditor matrix; (v) all federal and state agencies that regulate any

portion of the Debtor’s business, (vi) the United States Trustee; and (vii) the Chapter V Trustee

(the “Sale Notice Parties”).

       23.     Sale Free and Clear of Liens, Claims and Encumbrances. Debtor seeks an order

approving the sale of all of the Debtors’ right, title and interest in and to the Auction Sale Assets

free and clear of any and all pledges, liens, security interests, encumbrances, claims, charges,

options and interests thereon (collectively, the “Interests”), including, but not limited to, any such
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Interests held by the Debtor’s landlord, the SBA and/or the IRS to the maximum extent permitted

by section 363 of the Bankruptcy Code, with such Interests to attach to the net proceeds of the sale

of the Assets with the same validity and priority.

        24.     As Is, Where Is. The sale of the Auction Sale Assets shall be on an “as is, where

is” basis and without representations or warranties of any kind, nature or description by the Debtor,

its agents or its their estate, except as provided in any agreement with respect to the transactions

approved by the Court.

                                           IV.
                  Waiver of Bankruptcy Rules 6004(a), 6004(h), and 6006(d)

        25.     To implement successfully the relief sought herein, the Debtor requests that the

Court find that notice of this Sale Motion is adequate under Bankruptcy Rule 6004(a) under the

circumstances. The Debtor also requests that the Court waive the stay imposed by Bankruptcy

Rule 6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property other

than cash collateral is stayed until the expiration of 14 days after entry of the order, unless the court

orders otherwise.” Fed. R. Bankr. P. 6004(h). The Debtors further request that the Court waive the

stay imposed by Bankruptcy Rule 6006(d), which provides that an “order authorizing the trustee

to assign an executory contract or unexpired lease under section 365(f) is stayed until the expiration

of 14 days after the entry of the order, unless the court orders otherwise.” Fed. R. Bankr. P.

6006(d).

        26.     The proposed auction sale transaction should be consummated as soon as

practicable to allow the Debtor to maximize value for its bankruptcy estate and stakeholders.

Accordingly, the Debtor requests that the Auction Sale Order be effective immediately upon entry

and that the 14-day stay imposed by Bankruptcy Rules 6004(h) and 6006(d) be waived.

                                                 V.
                                              Conclusion
                                                  7
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      WHEREFORE, Debtor prays that the Court (i) approve entry into the APA attached hereto

as Exhibit “1”; (ii) approve the sale of the Auction Sale Assets free and clear of liens, claims and

encumbrances; (iii) schedule a hearing to approve the Auction Sale Motion; and (iv) grand such

other relief to which the Debtors are entitled.

      Respectfully submitted this 30th day of August 2024.


                                                  /s/Leonard H. Simon
                                                  Leonard H. Simon, Esq.
                                                  TBN: 18387400; SDOT: 8200
                                                  The Riviana Building
                                                  2777 Allen Parkway, Suite 800
                                                  Houston, Texas 77019
                                                  (713) 528-8555 (Main)
                                                  (832) 202-2810 (Fax)
                                                  lsimon@pendergraftsimon.com

                                                  PROPOSED ATTORNEY FOR DEBTOR


OF COUNSEL:
William P. Haddock, Esq.
PENDERGRAFT & SIMON
2777 Allen Parkway, Suite 800
Houston, Texas 77019
(713) 528-8555 (Main)
(832) 202-2810 (Fax)

                                 CERTIFICATE OF SERVICE

                                      (To be filed separately)




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All TPP will be sold on an "AS IS" and "WHERE IS" condition, without any warranties,
representations or guaranties except those to PMI contained herein. Until the final
auction settlement has occurred, BEBCO hereby agrees that PMI shall have the sole and
exclusive right to sell the TPP located at the Facility, at public auction, without reserve, to
the highest bidder regardless of price, and to have the expense-free use of the Facility to
conduct the auction and arrange for the removal of items sold. BEBCO represents that
such occupancy will be granted by its signing of this agreement. PMl's Leadman will
have access to the facility to perform his duties.

PMI comes on-site with insurance coverage of $11,000,000 for general liability, and
BEBCO will automatically be added as an additional insured on the policy.

If applicable, BEBCO warrants that it will be responsible for and will have taken all
necessary steps to give any legally required notice of the auction sale as required by law
to all interested and concerned parties, and that it will have taken all actions necessary
to comply with any applicable laws or the terms of any applicable lending and security
documents if the same should exist.

As a matter of Texas law, we are required to advise you that should you have any
complaints to be made to the Texas Department of Licensing and Regulation in
connection with this company or its' auctioneers, said department's address and phone
number are P.O. Box 12157, Austin, Texas, 78711, (512) 463-2906.


AGREED TO AND ACCEPTED BY:



------------------                                   Date- 7/3/24
Mike Baucom, Executive Director & CEO for
Bebco Environmental Control Corporation



------------------                                    Date-     I    I
Ronald G. Moore,
President for Plant &
Machinery, Inc.



As an agreed amendment by initials below, BEBCO reserves the right to require minimum
prices for a pre-select list of specific capital equipment items and machinery, at a amount
equivalent to 30-40% of their original purchase price, as prescribed on the attached schedule.


INITIALS:     ________________                            __________________
              For BEBCO                                   For PMI
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                           EXHIBIT A: BEBCO AUCTION EXPENSE BUDGET



  - DJrect_ JI q rtising_              _
      - _Q_Chures_ ( . 0_0/§::.P ge/color tll!"_oughout)    $      3,750
      -P stage                                                  ___5,1_
      -Mailing_!Jst                                                  255
            Tof?I_O!rect ail Ad f!ising                                     $         1 §8

  B. Print_Me_sli§ dvertising & 3rd party Email bl!tz                      ____     6,750
 C._Website Hl]IIL_creatiof!, internal eblitzing _                                    400
 p._§a e_site_ca_!alog_s ___ __                                                       200
            To_I Adverti ing Expen itur s                                                       $    _ 1 ,518 _
  E. Labor
•
           -
   - -Leadman:
        -----             6.5 man -weeks
                                    - - -·   -- --      -                           8, 1?5_     _
    _:.Temporary Labor: 180 man hours                                               3,420
            Total Labor
£:_Mile ge__&_ To
                                                                                              ' _ _ 11,54
                                                                                                     ?._,516
                                                                                                            _

 G. Miscellaneous
  _ -Cle ning upplies                                                                  50
    _-Office_S!,Jpplies _ _ _ _ _ _ _ _ _ _        _                                   75 - - - - - - - - - - -
, _ - a_!l Charge _ _ _                                                               250
     -General
 ------  - - - - - - - Insurance
                       - - --                                                 - - - - 250
                                                                                       - -----
     -Bi sP<2_ttE;!r Event F_e                                                        375
            Total Miscellaneous                                                                            1 ,000

      TOTAL                                                                                   $         31,578
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                                            EXHIBIT B: BEBCO MIMIMUM PRICES & EXCLUSIONS



                                   Seller Price Minimums (prior to TCP 15% Buyer's Fee)
Item                                                                   Location                                       Cost   Factor   Minimum Price
Specified Air HMAU                                                  Coating Shop                                $13,000.00    40%          $5,200.00
Nordock Lift                                                          Main Shop                                 $16,000.00    40%          $6,400.00
Cidan Folder w/ Dies                                               Metal Fab Shop                              $248,000.00    30%         $74,400.00
HK Laser                                                           Metal Fab Shop                              $362,000.00    40%       $144,800.00
Lower Disc Master                                                  Metal Fab Shop                              $124,000.00    40%         $49,600.00
Denar Press Brake w/ Dies                                          Metal Fab Shop                               $62,000.00    30%         $18,600.00
Kundle Jib Crane & Anver Vacuum Lift                               Metal Fab Shop                               $26,500.00    40%         $10,600.00
Air Compressor System                                             North Shop 1st Bay                            $34,500.00    40%         $13,800.00
Crown Lift w/ Charger                                                Warehouse                                  $28,000.00    30%          $8,400.00


                                                               Excluded Equipment
Powder Coating System w/ Powder & PPE                      Coating Shop ‐ Side of Paint Booth
Powder Coating Oven                                                  Coating Shop
Blasting Booth w/ Equipment & PPE                                    Coating Shop
Welding Table w/ Tooling                                         Warehouse Lower Bay
(3) Welding & Plasma Cutting Machines                            Warehouse Lower Bay
Cart Mounted Pressure Washer                                     Warehouse Lower Bay

Best Purging System Inventory, Select Storage Racks, Shelving, Tables and other items as specifically Identified
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                                              PLANT & MACHINERY INC.                                 Page 1      08/15/2024
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                               1304 LANGHAM     in TXSB
                                            CREEK   DRIVE,on 08/31/24
                                                           SUITE 454  Page  16#1:of 34
                                                                        Seller       Bebco Environmental
                                                                                                       Controls Corporation
                                               HOUSTON, TX 77084
                                                                                        Seller #2:    Refurbishing Company
                                        (713) 691-4401 FAX (713) 672-7905                             (to boost Auction attendance)
                                         HTTP://WWW.PMI-AUCTION.COM                     Seller #3:    Michael Kane Baucom

                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                                   Seller
      1          1            0 PIPE THREADER, RIDGID MDL. 535, w/ tooling, on fabricated stand, S/N    1
                                EAM22710D01
      2          1            0 TRISTAND, RIDGID 460, 1/8''-6''                                         1
      3          1            0 TRISTAND, RIDGID 460, 1/8''-6''                                         1
     3A          1            0 LOT OF PIPE JACK STANDS                                                 1
      4          1            0 MANUAL HAND PALLET FORKLIFT, VESTIL, 700-lb. cap., S/N 162-186          1
      5          1            0 MANUAL HAND PALLET FORKLIFT, VESTIL, 700-lb. cap., S/N 162-189          1
      6          1            0 MANUAL PLATFORM LIFT, PRESTO MDL. M-152, 1,000-lb. cap., S/N            1
                                V71023-1/1434531-1
      7          1            0 MANUAL PALLET JACK SCALE TRUCK, GLOBAL INDUSTRIAL, 5,000-lb.            1
                                cap., Mettler Toledo scale
      8          1            0 MANUAL PALLET JACK SCALE TRUCK, GLOBAL INDUSTRIAL, 5,000-lb.            1
                                cap., Mettler Toledo scale
      9          1            0 PALLET JACK, VESTIL                                                     1
     10          1            0 PALLET JACK                                                             1
     11          1            0 PALLET JACK, HELI                                                       1
     12          1            0 PALLET JACK, HELI                                                       1
    12A          1            0 PANEL SAW, MILWAUKEE MDL. 6480-20                                       1
     13          1            0 FOLDING ENGINE CRANE, PITTSBURGH, H-D, 2 T. cap.                        1
     14          1            0 LOCKABLE STORAGE BOX, JOBOX                                             1
     15          1            0 SLIP ROLL, JET MDL. SR-2024M, cap. 20 gage steel, S/N 2017090081        1
     16          1            0 SLIP ROLL/ HAND BRAKE COMBO                                             1
     17          1            0 ROUTER TABLE, BOSCH MDL. RA1181, w/ box                                 1
     18          1            0 COMPOUND       MITER  SAW, DEWALT MDL.   DW715, 12''                    1
     19          1            0 COMPOUND MITER SAW, DEWALT, 10''                                        1
     20          1            0 LOT OF HAND SAWS (2): Skilsaw & Black & Decker                          1
     21          1            0 LOT OF CORDED TOOLS: Dewalt, Jig-Saw, 1/2'' hammer drill                1
     22          1            0 HAMMER DRILL, MAKITA, w/ extra bits, in case                            1
     23          1            0 SHEET ROCK SCREW GUN, MAKITA, 1-3/4 - 2-15/16'', in case                1
     24          1            0 PNEUMATIC STAPLE GUN, MAKITA AT1150A                                    1
     25          1            0 CORDED IMPACT GUN, KOBALT, 12'', in case                                1
     26          1            0 HYDRAULIC KNOCKOUT PRIMER, GREENLEE, w/ dies, in case                   1
     27          1            0 LOT OF QUICK DRAW HYDRAULIC PUNCH DRIVERS, GREENLEE, in case 1
     28          1            0 LOT OF A/C HOSE TOOLS (in one pile)                                     1
     29          1            0 TUBE BENDER, PARKER                                                     1
     30          1            0 LOT OF TUBE BENDERS, RIDGID, 3/4 OD                                     1
     31          1            0 HD CABLE SNIPS, blue                                                    1
     32          1            0 LOT OF CAULK GUNS: Workforce & Mixpac                                   1
     33          1            0 BENCH GRINDER, DEWALT MDL. DW756, 6''                                   1
     34          1            0 BENCH GRINDER, DEWALT MDL. DW756, 6''                                   1
    34A          1            0 BELT SANDER, CENTRAL MACHINERY, 1'' x 30''                              1
     35          1            0 CONDUIT BENDER, KLEIN TOOLS, 1/2'' EMT                                  1
     36          1            0 PLASMA CUTTER, THERMAL DYNAMICS, CUTMASTER 42, S/N IEC-608744 1
     37          1            0 LOT OF HD SHOP TABLES (3), ULINE: 9' x 4-1/2' & 6' X 3' (Note: two week 1
                                delayed removal)
    37A          1            0 HORIZONTAL SAW, JET                                                     1
    37B          1            0 TABLE SAW, SKILSAW                                                      1
    37C          1            0 LOT OF ROLLING SHOP CARTS                                               1
     38          1            0 AIRLESS PAINT SPRAYER, GRACO MAGNUM LTS 7                               1
     39          1            0 LOT OF PORTABLE SHOP HEATERS (3): Dayton & Dyna-glo                     1
                                              PLANT & MACHINERY INC.                                                Page 2
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                               1304 LANGHAM     in TXSB
                                            CREEK   DRIVE,on 08/31/24
                                                           SUITE 454  Page Printed:08/15/2024
                                                                           17 of 34           16:50
                                               HOUSTON, TX 77084
                                        (713) 691-4401 FAX (713) 672-7905
                                         HTTP://WWW.PMI-AUCTION.COM
                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                                    Seller
     40          1            0 SHOP FAN, ULINE, 42''                                                          1
     41          1            0 SHOP FAN, ULINE, 42''                                                          1
     42          1            0 LOT OF SHOP FANS, 24''                                                         1
     43          1           0 PRESSURE WASHING SKID, Dewalt pressure washer,                                  3
                                200 gal. water tank and Pressure Washing Hoses & Racks
     44          1            0 HEATED PRESSURE WASHER NORTHSTAR, w/ wheels, Vanguard motor                    1
                                (needs repair)
     45          1            0 HEATED PRESSURE WASHER, w/ wheels, Honda motor (needs repair)                  1
     46          1            0 A-FRAME LADDER, WERNER, 12', 300-lb. cap.                                      1
    46A          1            0 A-FRAME LADDER, WERNER, 10', 300-lb. cap.                                      1
     47          1            0 A-FRAME LADDER, WERNER, 10', 300-lb. cap.                                      1
    47A          1            0 A-FRAME LADDER, LOUISVILLE, 8'.                                                1
     48          1            0 A-FRAME LADDER, LITTLE GIANT KING KOMBO, 8'', 375-lb. cap.                     1
     49          1            0 A-FRAME LADDER, WERNER, 6', 225-lb. cap.                                       1
     50          1            0 A-FRAME LADDER, WERNER, 6', 225-lb. cap.                                       1
     51          1            0 A-FRAME LADDER, WERNER, 6', 225-lb. cap.                                       1
     52          1            0 A-FRAME LADDER, WERNER, 6', 225-lb. cap.                                       1
     53          1            0 A-FRAME LADDER, WERNER, 6', 225-lb. cap.                                       1
     54          1            0 A-FRAME LADDER, 250-lb. cap.                                                   1
     55          1            0 A-FRAME LADDER, LOUISVILLE, 6', 200-lb. cap.                                   1
     56          1            0 A-FRAME LADDER, LOUISVILLE, 6', 200-lb. cap.                                   1
     57          1            0 A-FRAME LADDER, LOUISVILLE, 6', 200-lb. cap.                                   1
     58          1            0 A-FRAME LADDER, WERNER, 4', 250-lb. cap.                                       1
     59          1            0 A-FRAME    LADDER,    GORILLA      LADDERS,  4', 100-lb. cap.                  1
     60          1            0 A-FRAME LADDER, GORILLA LADDERS, 4', 100-lb. cap.                              1
     61          1            0 METAL BANDING CART, w/ tools                                                   1
     62          1            0 BENCH TOP DRILL SHARPENER, DAREX MDL. XT-3000, S/N 15009171                    1
     63          1            0 STUD WELDER, HANLON CDI 502                                                    1
     69          1            0 LOT OF DRILLS & CHARGERS, RYOBI                                                1
     70          1            0 RECIPROCATING SAW, DEWALT, 1-1/8'' stroke                                      1
     71          1            0 OSCILLATING HAND TOOL, DREMEL MULTIMAX MM45                                    1
     72          1            0 HANDHELD ELECTRIC NIBBLER, MAKITA                                              1
     73          1            0 ANGLE GRINDER, METABO                                                          1
     74          1            0 HANDHELD ROTARY TOOL, DREMEL 4000, in case                                     1
     75          1            0 HANDHELD ROTARY TOOL, DREMEL 4000, in case                                     1
     76          1            0 ORBITAL JIG SAW, DEWALT, 1'' stroke, in case                                   1
     77          1            0 FIBER LASER CUTTING SYSTEM, HK LASER & SYSTEMS MDL. PS3015,                    3
                                Mfg. 2016, 5' x 10' tbl. size, Ytterbium 2 kW laser power source Mdl.YLS-2000,
                                IPG photonics, Siemens 840D control, Keller air filtration system
     78          1            0 HYDRAULIC PRESSBRAKE, DENER MDL. DEXL 175-30 ACZL, Mfg. 2013,                  3
                                175 T. x 10', 40 HP, w/ dies, S/N 31730-3115
     79          1            0 FOLDING MACHINE, CIDAN MDL. PRO 3100 X 4.0 MM, Mfg. 2012, 122"                 3
                                folding length, w/ dies, S/N 100502
     80          1           0 DEBURRING & EDGE ROUNDING MACHINE, LOEWER DISC MASTER MDL. 3
                                DM4TD.1500, Mfg. 2016, 59.05" max. work width, 3.94" max. workpiece ht.,
                                S/N 12411, SOLD W/ DIVERSITECH MDL. WX-5000, 10 HP, 5,000 CFM, S/N
                                5309605
     81          1           0 JIB CRANE, KUNDEL, 1 T. cap., w/1 T. Harrington hoist, Anver 2,100-lb. cap.      3
                                vacuum plate lifter, w/ (8) cups
     82          1            0 LOT OF RAW MATERIAL, steel sheets, galvanized, 60'' x 120'', 20 gage            1
                                              PLANT & MACHINERY INC.                                      Page 3
                Case 24-80258 Document  3 Filed
                               1304 LANGHAM     in TXSB
                                            CREEK   DRIVE,on 08/31/24
                                                           SUITE 454  Page Printed:08/15/2024
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                                              HOUSTON, TX 77084
                                       (713) 691-4401 FAX (713) 672-7905
                                        HTTP://WWW.PMI-AUCTION.COM
                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                          Seller
     83          1            0 LOT OF RAW MATERIAL, steel sheets, galvanized, 60'' x 120'', 12 gage  1
     84          1            0 LOT OF RAW MATERIAL, stainless steel, various sizes (on one pallet)   1
     85          1            0 LOT OF RAW MATERIAL, stainless steel, 60'' x 120''                    1
     86          1            0 SHEET OF STAINLESS STEEL, 48'' X120''                                 1
     87          1            0 LOT OF RAW MATERIAL, stainless steel, various sizes (on one pallet)   1
     88          1            0 LOT OF RAW MATERIAL, stainless steel, various sizes (on one pallet)   1
     89          1            0 LOT OF RAW MATERIAL, stainless steel, various sizes (on one pallet)   1
     90          1            0 BALL TRANSFER TABLE, 60'' x 120'' x 36''                              3
     91          1            0 BALL TRANSFER TABLE, 60'' x 32'' x 120''                              3
     92          1            0 BALL TRANSFER TABLE, 60'' x 32'' x 60''                               3
     93          1            0 BALL TRANSFER TABLE, 60'' x 32'' x 60''                               3
     94          1            0 CANTILEVER RACK SECTION, single sided, 14' tall, 5' arms, adjustable  1
     95          1            0 CANTILEVER RACK SECTION, single sided, 14' tall, 5' arms, adjustable  1
    95A          1            0 CANTILEVER RACK SECTION, 12' x 4' x 4' arms                           1
     96          1            0 LOT OF HAND TOOLS: hammer, plyers, screw drivers, etc. (on one table) 1
     97          1            0 LOT OF MATERIAL HANDLING CARTS (4)                                    1
     98          1            0 LOT OF WAREHOUSE GUARD RAILS, 40'                                     1
     99          1            0 LOT OF SHOP TABLES (4), GLOBAL                                        1
    101          1            0 ROTARY SCREW AIR COMPRESSOR SYSTEM,, INGERSOLL RAND MDL. 1
                                RS-37i-A125, 50 HP, S/N CBV523895, GREAT LAKES AIR COALESCER, wet
                                air receiving tank, dry air receiving tank
    102          1            0 FLAMMABLE STORAGE CABINET, ULINE, 2-door                              1
    103          1            0 FLAMMABLE STORAGE CABINET, ULINE, 2-door                              1
    104          1            0 FLAMMABLE       STORAGE     CABINET,    ULINE, single door            1
    105          1            0 FLAMMABLE STORAGE CABINET, ULINE, single door                         1
   105A          1            0 FLAMMABLE STORAGE CABINET, 2-door                                     1
   105B          1            0 LOT OF ROLLING PAINT BOOTH SKIDS (2)                                  1
    106          1            0 FLAMMABLE STORAGE CABINET, 2-door                                     1
    107          1            0 PNEUMATIC RIVET GUN, SPEEDAIR                                         1
    108          1            0 PNEUMATIC RIVET GUN, SPEEDAIR                                         1
    109          1            0 PNEUMATIC RIVET GUN                                                   1
    110          1            0 PNEUMATIC RIVET GUN                                                   1
    111          1            0 PNEUMATIC NUT INSERT GUN, SHEREX, in case                             1
    112          1            0 PNEUMATIC RIGHT ANGLE DRILL GUN, PAN AMERICA TOOL CO.                 1
    113          1            0 PNEUMATIC AIR HAMMER, KOBALT                                          1
    114          1            0 PNEUMATIC AIR RATCHET GUN, CENTRAL PNEUMATIC                          1
    115          1            0 PNEUMATIC FILE, CENTAL PNEUMATIC                                      1
    116          1            0 PNEUMATIC NIBBLER, CENTRAL PNEUMATIC                                  1
    117          1            0 LOT OF SQUARE RULERS                                                  1
    118          1            0 ELECTRONIC TORQUE WRENCH, CDI TORQUE PRODUCTS, w/ case                1
    119          1            0 ELECTRONIC TORQUE WRENCH, CDI TORQUE PRODUCTS, w/ case                1
    120          1            0 CLICK TYPE TORQUE WRENCH, PITSBURGH PRO, w/ case                      1
    121          1            0 CLICK TYPE TORQUE WRENCH, PITSBURGH PRO, w/ case                      1
    122          1            0 TORQUE ANALYZER, SEEKONK PRECISION TOOLS                              1
    123          1            0 MICRO ADJUSTABLE TORQUE SCREW DRIVER, CDI TORQUE                      1
                                PRODUCTS
    124          1            0 REFRIGERANT LEAK DETECTOR, TEK-MATE, w/ case                          1
    125          1            0 VIDEO BORE SCOPE, EXTECH INSTRUMENTS BR-70                            1
    126          1            0 AC/DC CLAMP-ON MULTIMETER, WAVETEK                                    1
    127          1            0 PRESSURE PROBE, FIELDPIECE MDL. JL3PR, w/ case                        1
                                              PLANT & MACHINERY INC.                                 Page 4
                Case 24-80258 Document  3 Filed
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                                            CREEK   DRIVE,on 08/31/24
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                                              HOUSTON, TX 77084
                                       (713) 691-4401 FAX (713) 672-7905
                                        HTTP://WWW.PMI-AUCTION.COM
                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                     Seller
    128          1            0 PRESSURE PROBE, FIELDPIECE MDL. JL3PR, w/ case                  1
    129          1            0 SOUND LEVEL METER, REALISTIC, w/ case                           1
    130          1            0 AIR VELOCITY METER, ALMOR, w/ case                              1
    131          1            0 FORCE GAUGE, EXTECH 475040, w/ case                             1
    132          1            0 TEMPERATURE & HUMIDITY METER, SUPCO, w/ case                    1
    133          1            0 SOUND LEVEL METER, TACK LIFE                                    1
    134          1            0 MEGOHMMETER, SUPCO MDL. M5000, w/ case                          1
    135          1            0 ANEMOMETER, REED MDL. SD-4207, w/ case                          1
    136          1            0 ANEMOMETER, GENERAL MDL. DAF4207SD, w/ case                     1
    137          1            0 THERMOMETER, REED MDL. SD-947                                   1
    138          1            0 MULTI-CHANNEL, DATA LOGGER GRAPHTEC MDL. G1240, w/ case         1
    139          1            0 LOT OF ELECTRICAL EQUIPMENT: HiPot Tester, SCI load box         1
    140          1            0 THERMO-PSYCHROMETER, CPS MDL. T-250, w/ case                    1
    141          1            0 DURA BLOCK INCLINED/ VERTICAL MANOMETER, DWYER GAGES, w/        1
                                case
    142          1            0 MAGNETIC STIRRER, SCILOGEX MDL. MS-S                            1
    143          1            0 ELECTRIC CORD CUTTER, INTERTEK                                  1
    144          1            0 RF-PROGRAMMER, OMEGA                                            1
    145          1            0 LOT OF HAND TOOLS & HOT KNIFE, DREMEL                           1
    146          1            0 MATERIAL CUTTER, CROCODILE CUTTER, w/ case                      1
    147          1            0 LOT OF APPLICATOR GUNS, SCOTCHWELD 3M                           1
    148          1            0 LOT OF FLUORESCENT, LEAK DETECTION KITS (2), SPECTROLINE        1
    149          1            0 LOT OF STETHOSCOPES                                             1
    150          1            0 VACUUM PUMP, FIELDPIECE, 8-CFM, w/ hoses                        1
    151          1            0 VACUUM PUMP, FIELDPIECE, 8-CFM, w/ hoses                        1
    152          1            0 VACUUM PUMP, FIELDPIECE, 8-CFM, w/ hoses                        1
    153          1            0 VACUUM PUMP, FIELDPIECE, 8-CFM, w/ hoses                        1
    154          1            0 REFRIGERANT RECOVERY UNIT, BACHARACH ECO-2020                   1
    155          1            0 GAS FLUXER RESERVE TANK, GAXFLUX                                1
    156          1            0 COMPACT REFRIGERANT SCALE, TJF MDL. TIF9030                     1
    157          1            0 COMPACT REFRIGERANT SCALE, TJF MDL. TIF9030                     1
    158          1            0 WIRELESS REFRIGERANT SCALE, FIELDPIECE MDL. SR 53               1
    159          1            0 REFRIGERANT CHARGING SCALE, COMPUTE-A-CHARGE MDL. CC220         1
    160          1            0 HYDRAULIC TUBE EXPANDER KIT, YELLOW JACKET, w/ case             1
    161          1            0 HYDRAULIC TUBE EXPANDER KIT, YELLOW JACKET, w/ case             1
    162          1            0 LOT OF QUICK CONNECT COUPLINGS, FASTEST                         1
    163          1            0 LOT OF FLARING & SWAGING TOOL KITS, UNIWELD IMPERIAL, w/ case   1
    164          1            0 TUBING EXPANDER & SWAGER KIT, YELLOW JACKET, w/ case            1
    165          1            0 RATCHET TUBE BENDER KIT, YELLOW JACKET                          1
    166          1            0 A/C TEST & CHARGING MANIFOLD, BLACKMAX                          1
    167          1            0 A/C TEST & CHARGING MANIFOLD, YELLOW JACKET                     1
    168          1            0 A/C TEST & CHARGING MANIFOLD, YELLOW JACKET                     1
    169          1            0 A/C TEST & CHARGING MANIFOLD                                    1
    170          1            0 A/C TEST & CHARGING MANIFOLD                                    1
    171          1            0 DIGITAL MANIFOLD, SMARTECH, UNIWELD                             1
    172          1            0 OXYGEN/ ACETYLENE BRAZING TORCH, w/ torch & gages               1
    173          1            0 TUBE BENDER, BRAKE QUIP                                         1
    174          1            0 ROLLING TOOL BOX, CRAFTSMAN, w/ tools                           1
    175          1            0 LOT OF HAND TOOLS, misc. (on one cart) (cart included)          1
    176          1            0 LOT CONSISTING OF: dill bits, taps & holders (on one table)     1
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                Case 24-80258 Document  3 Filed
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                                               HOUSTON, TX 77084
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                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                                   Seller
    177          1            0 LOT CONTENTS OF RACK: electrical controls, screws, brass fittings, hoses,     1
                                etc. (Note: shelf not included)
    178          1            0 H.D. METAL RACK, 17' x 4' x 6', w/ wood inserts (Note: two week delay         1
                                removals)
    179          1            0 H.D. STORAGE RACK, VESTIL, 1,500-lb. cap.                                     1
    180          1            0 ROLLING WIRE CART, GREENLEE                                                   1
    181          1            0 ROLLING WIRE CART, GREENLEE                                                   1
    182          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top (Note: two week             1
                                delayed removal)
    183          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 2'' thk. top (Note: two week delayed         1
                                removal)
    184          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top (Note: two week             1
                                delayed removal)
    185          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                             1
    186          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                             1
    187          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2''' thk. top, w/ vise                   1
    188          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top (Note: two week             1
                                delayed removal)
    189          1            0 H.D. WORK BENCH, 10' x 3' x 1/2'' thk. top (Note: two week delayed removal)   1
    190          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top, air & electrical hose      1
                                reel included)
    191          1            0 MATERIAL LAYOUT TABLE, 10' x 5' x 2-1/2'' (Note: two week delayed             1
                                removal)
    192          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top (Note: two week             1
                                delayed removal)
    193          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top (air & electrical hose      1
                                reel included)
    194          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top                             1
    195          1            0 EYE WASH STATION, VISION AID                                                  1
    196          1            0 METAL CABINET, HALLOWELL, 2-door                                              1
    197          1            0 METAL CABINET, GLOBAL, 2-door                                                 1
    198          1            0 H.D. METAL RACK, 10' x 6' x 6' (Note: two week delay removals)                1
    199          1            0 SHELF, 3-tier, 6' x 3' x 6'                                                   1
    200          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top                             1
    201          1            0 TRANSFORMER STEP-DOWN UNIT, on rolling cart                                   1
    202          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                             1
    203          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                             1
   203A          1            0 HORIZONTAL MATERIAL RACK, VESTIL                                              1
    204          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                             1
    205          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top, air & electrical hose      1
                                reel included)
    206          1            0 LOT CONTENTS OF LUNCH ROOM: tables, microwave, coffee maker, water            1
                                dispenser
    207          1            0 H.D. METAL RACK, 4-tier, 8' x 3' x 6'                                         1
    208          1            0 LOT OF PALLET RACK SECTIONS (2), 24' x 4' x 6', w/ mesh inserts               1
    209          1            0 VERTICAL STORAGE RACK,VESTIL, 1,500-lb. cap.                                  1
    210          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top                             1
    211          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                             1
    212          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top                             1
    213          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                             1
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                Case 24-80258 Document  3 Filed
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                                            CREEK   DRIVE,on 08/31/24
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                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                             Seller
    214          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                        1
    215          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top, air & electrical hose 1
                                reel included)
    216          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                        1
    217          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                        1
    218          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                        1
    219          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                        1
    220          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top                        1
    221          1            0 PALLET RACK SECTION, 12' x 4' x 6', w/ mesh inserts                      1
    222          1            0 LOT OF PALLET RACK SECTIONS (2), 12' x 4' x 6', w/ mesh inserts          1
    223          1            0 SHOP VACUUM, RIDGID, 14 gal.                                             1
    224          1            0 SHOP VACUUM, RIDGID, 14 gal.                                             1
    225          1            0 SHOP VACUUM, RIDGID, 12 gal.                                             1
    226          1            0 SHOP VACUUM, SHOP-VAC, 10 gal.                                           1
    227          1            0 SHOP VACUUM, SHOP-VAC, 10 gal.                                           1
    228          1            0 WOODEN TOP WORK BENCH, 6' x 3' x 1-1/2'' thk. top                        1
    229          1            0 OFFICE CUBICLE & DESK, w/ chair                                          1
    230          1            0 FOOT OPERATED PALLET JACK, HYSECO INC., 1,000-lb. cap.                   1
    231          1            0 PLATFORM JACK, WESCO, 500-lb. cap.                                       1
    232          1            0 SCISSOR LIFT CART, 250-lb. cap.                                          1
    233          1            0 LOT OF TORCH CARTS (2), w/ hoses                                         1
    234          1            0 LOT OF FOAM GASKETS, w/ wooden rack                                      1
    235          1            0 LOT OF OFFICE CUBICLE SECTIONS (2)                                       1
   235A          1            0 LOT   OF  FLAT  SCREEN     TELEVISIONS     (2), 55''                     1
    240          1            0 BINDING MACHINE, GBC, w/ extra binding combs                             1
    241          1            0 THERMAL TRANSFER PRINTER, MARKINGENIUS MG3                               1
    242          1            0 H.D. WORK BENCH, 12' x 3' x 2-1/2'' metal top (Note: two week delay      1
                                removal)
    243          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top                        1
    244          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1-1/2'' thk. top                        1
    245          1            0 LOT CONTENTS OF MSC BLUE BINS: large selection of electrical hardware & 1
                                stainless steel, bolts, nuts, washers, etc. (blue bins not included)
    246          1            0 LOT OF PALLET RACK SECTIONS (4), 12' x 4' x 15', w/ mesh inserts         1
    247          1            0 LOT OF PALLET RACK SECTIONS (3), 12' x 4' x 6', w/ mesh inserts          1
    248          1            0 PAINT BOOTH ENCLOSURE, 9' x 8'                                           1
    249          1            0 VENTILATION FAN, GREENHECK (needs repair)                                1
    250          1            0 VENTILATION FAN, GREENHECK (needs repair)                                1
    251          1            0 AIR COMPRESSOR MOTOR, SPEEDAIR (on one pallet)                           1
   251A          1            0 LOT OF HOSE REELS: air & electrical                                      1
    252          1            0 LOT OF MISC. SHOP SUPPLIES: hand tools, caster wheels, storage bins,     1
                                etc., (on one pallet)
    253          1            0 LOT OF SAFETY SUPPLIES: safety harnesses, shields, Hi-rez vest, etc. (on 1
                                one pallet)
    254          1            0 LOT CONSISTING OF: screws, nuts, washers in storage bins (on one pallet) 1
    255          1            0 LOT OF RV & CAMPER A/C UNIT HOUSINGS, ATWOOD (on one pallet)             1
    256          1            0 LOT OF A/C WINDOW UNIT HOUSINGS (on one pallet)                          1
    257          1            0 WHISPER DRIVE BUILDING PRESSURIZATION UNIT, BEBCO INDUSTRIES 1
                                (in wooden box)
    258          1            0 RV & CAMPER A/C UNIT, DOMETIC (on one pallet)                            1
    259          1            0 RV & CAMPER A/C UNIT                                                     1
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                Case 24-80258 Document  3 Filed
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                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                                   Seller
    260          1            0 LOT OF RV & CAMPER A/C UNIT HOUSINGS (on one pallet)                          1
    261          1            0 WATER PRESSURE BOOSTER TANK, AMTROL                                           1
    262          1            0 RV & CAMPER A/C UNIT (on one pallet)                                          1
    263          1            0 LOT OF REFRIGERANT RECOVERY UNITS (2), APPION G5 TWIN                         1
    264          1            0 LOT OF DEEP VACUUM PUMPS: SuperEvac & JB Platinum                             1
    265          1            0 LOT OF OFFICE FURNITURE: cubicles, tables, file cabinets (on three pallets)   1
    266          1            0 STAINLESS STEEL SKID, 8' x 4' x 6', w/ fork pockets                           1
    268          1            0 LOT OF ELECTRIC MOTORS, APPLIANCE CORPORATION (on one pallet)                 1
    269          1            0 LOT OF ELECTRIC MOTORS, M.T. (on one pallet)                                  1
    270          1            0 ULTRA SONIC HUMIDIFIER, OCEAN MIST (on one pallet)                            1
    271          1            0 WINDOW AIR CONDITIONING UNIT, parts only (on one pallet)                      1
    272          1            0 LOT OF AIR CONDITIONING UNITS, parts only (on one pallet)                     1
    273          1            0 LOT OF AIR CONDITIONING UNITS, parts only (on one pallet)                     1
    274          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    275          1            0 LOT OF WINDOW AIR CONDITIONING UNITS, parts only (on one pallet)              1
    276          1            0 AIR CONDITIONER & HEAT PUMP CONDENSING UNIT, CARRIER, new (on                 1
                                one pallet)
   276A          1            0 AIR CONDITIONER & HEAT PUMP CONDENSING UNIT, CARRIER, new (on                 1
                                one pallet)
    277          1            0 WINDOW AIR CONDITIONING UNIT, COMFORT AIR, (new in box)                       1
   277A          1            0 WINDOW AIR CONDITIONING UNIT, KEYSTONE (new in box)                           1
    278          1            0 LOT OF EXAUST FAN VENTURI FRAMES, DAYTON, new, 12'' - 30'' (on one            1
                                pallet)
    279          1            0 WINDOW AIR CONDITIONING UNIT, w/ Bebco upgrades, parts only                   1
    280          1            0 LOT OF SPLIT UNIT & WINDOW STYLE AIR CONDITIONING PARTS (on                   1
                                one pallet)
    281          1            0 HAZARDOUS LOCATION REFRIGERATOR, MARVEL (on one pallet)                       1
    282          1            0 LOT OF SQUARE D BREAKER BOXES (on one pallet)                                 1
    283          1            0 LOT OF STAINLESS STEEL FILTER STACK UNITS (new in crate)                      1
    284          1            0 LOT OF DRY WALL FRAMING STUDS, PRO STUD                                       1
    285          1            0 LOT OF WALL INSULATION (on one pallet)                                        1
    286          1            0 LOT OF OVERHEAD DOOR TRACK PROTECTORS, GLOBAL (on one pallet)                 1
    287          1            0 AIR CONDITIONING COMPRESSOR, CARRIER MDL. GEMINI SELECT                       1
    288          1            0 LOT OF HAZARDOUS LOCATION CLIMATE CONTROL UNITS, THERMAL                      1
                                EDGE, parts only (on one pallet)
    289          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    290          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    291          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    292          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    293          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    294          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    295          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    296          1            0 ROOFTOP AIR CONDITIONER, ATWOOD AIR COMMAND (new in box)                      1
    297          1            0 ROOFTOP AIR CONDITIONER, ATWOOD AIR COMMAND (new in box)                      1
    298          1            0 ROOFTOP AIR CONDITIONER, ATWOOD AIR COMMAND (new in box)                      1
    299          1            0 ROOFTOP AIR CONDITIONER, ATWOOD AIR COMMAND (new in box)                      1
    300          1            0 ROOFTOP AIR CONDITIONER, ATWOOD AIR COMMAND (new in box)                      1
    301          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    302          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
    303          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                      1
                                              PLANT & MACHINERY INC.                                            Page 8
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                                               HOUSTON, TX 77084
                                        (713) 691-4401 FAX (713) 672-7905
                                         HTTP://WWW.PMI-AUCTION.COM
                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                                Seller
    304          1            0 LOT OF SPLIT UNIT AIR CONDITIONING PARTS (on one pallet)                   1
    305          1            0 LOT OF MULTI STRAND WIRE, 12 AWG (in one pile)                             1
    306          1            0 LOT OF SINGLE STRAND WIRE, 12 AWG (in one pile)                            1
    307          1            0 LOT OF MULTI STRAND WIRE, 14 AWG (in one pile)                             1
    308          1            0 ROLL OF SINGLE STRAND WIRE, 14 AWG (in one pile)                           1
    309          1            0 LOT OF MULTI STRAND WIRE, 14 AWG (in one pile)                             1
    310          1            0 LOT OF SINGLE STRAND WIRE, 14 AWG (in one pile)                            1
    311          1            0 LOT OF SINGLE STRAND WIRE, 16 AWG (in one pile)                            1
    312          1            0 LOT OF MULTI STRAND WIRE, 16 AWG (in one pile)                             1
    313          1            0 LOT OF MULTI STRAND WIRE, 16 AWG (in one pile)                             1
    314          1            0 LOT OF SINGLE STRAND WIRE, 16 AWG (in one pile)                            1
    315          1            0 LOT OF MULTI STRAND WIRE, 18 AWG (in one pile)                             1
    316          1            0 LOT OF SINGLE STRAND WIRE, 18 AWG (in one pile)                            1
    317          1            0 LOT OF MULTI STRAND WIRE, 20 AWG (in one pile)                             1
    318          1            0 LOT OF SINGLE STRAND WIRE, 20 AWG (in one pile)                            1
    319          1            0 LOT OF SINGLE STRAND WIRE, 10 AWG (in one pile)                            1
    323          1            0 LOT OF W.I.P., stainless steel pieces (on one pallet)                      1
    324          1            0 LOT OF STAINLESS STEEL PLATE, various sized (on one pallet)                1
    325          1            0 STAINLESS STEEL PLATE, 60'' x 66'' (on one pallet)                         1
    326          1            0 STAINLESS STEEL PLATE (on one pallet)                                      1
    327          1            0 CARBON STEEL PLATE, 57'' x 48'' (on one pallet)                            1
    328          1            0 CARBON STEEL PLATE, 47'' x 44'' (on one pallet)                            1
    329          1            0 LOT OF CARBON STEEL PLATE, various sizes (on one pallet)                   1
    330          1            0 LOT OF CARBON STEEL PLATE, various sizes (on one pallet)                   1
    331          1            0 LOT OF CARBON STEEL PLATE, various sizes (on one pallet)                   1
    332          1            0 LOT OF CARBON STEEL PLATE, various sizes (on one pallet)                   1
    333          1            0 LOT OF CARBON STEEL PLATE, various sizes (on one pallet)                   1
    334          1            0 LOT OF CARBON STEEL PLATE, various sizes (on one pallet)                   1
    335          1            0 LOT OF CARBON STEEL PLATE (2), 160'' x 60''                                1
    336          1            0 CARBON STEEL PLATE, 160'' x 60'' x 3/8'' (on one pallet)                   1
    337          1            0 LOT OF CARBON STEEL PLATE, 160'' x 60'', multiple pieces (on one pallet)   1
    338          1            0 LOT OF USED SPARE PARTS (large lot) ( on twelve pallets)                   1
    339          1            0 LOT OF REPLACEMENT FAN BLADES: 12'', 18'', 20'' & 24'' (on one pallet)     1
    340          1            0 LOT OF REPLACEMENT FAN BLADES: 20'' & 24'' (on one pallet)                 1
    341          1            0 SCAFFOLDING SECTION, BETCO                                                 1
    342          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1'' thk. top                              1
    343          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1'' thk. top                              1
    344          1            0 WOODEN TOP WORK BENCH, 8' x 3' x 1'' thk. top                              1
    345          1            0 HYDRAULIC PLATFORM LIFT, NORDOCK 5,000-LB. CAP. MDL. MG 68, S/N            1
                                44364
    346          1            0 LOT CONTENTS OF SHELF: liquid nails, wall plates, paint, bolts, etc.       1
    347          1            0 LOT CONTENTS OF SHELF: electrical enclosures                               1
    348          1            0 LOT CONTENTS OF SHELF: louvers & price, various sizes                      1
    349          1            0 LOT CONTENTS OF SHELF: louvers, galvanized starting collars, etc.          1
    350          1            0 LOT CONTENTS OF SHELF: Nema 7 control enclosures, various sizes            1
    351          1            0 LOT CONTENTS OF SHELF: air conditioning grill covers, various sizes        1
    352          1            0 LOT CONTENTS OF SHELF: electrical enclosures                               1
    353          1            0 LOT CONTENTS OF SHELF: louvers, A/C grills, G & J volt fuse block, 15 &    1
                                20A
    354          1            0 LOT CONTENTS OF SHELF: a/c filter grills & louvers                         1
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                                               HOUSTON, TX 77084
                                        (713) 691-4401 FAX (713) 672-7905
                                         HTTP://WWW.PMI-AUCTION.COM
                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                                 Seller
    355          1            0 LOT CONTENTS OF SHELF: pre-fabricated panels                                 1
    356          1            0 LOT CONTENTS OF SHELF: pre-fabricated parts                                  1
    357          1            0 LOT CONTENTS OF SHELF: pipe insulation, ducting & heat resistant pad         1
    358          1            0 LOT CONTENTS OF SHELF: a/c grills, ducting & padding                         1
    359          1            0 LOT CONTENTS OF SHELF: Cat 5 cable & electrical motors                       1
    360          1            0 LOT CONTENTS OF SHELF: general purpose heater elements, panduit & din 1
                                rail
    361          1            0 LOT CONTENTS OF SHELF: pre-fabricated parts, (1) enclosure, etc.             1
    362          1            0 LOT CONTENTS OF SHELF: HVAC blower wheels                                    1
    363          1            0 LOT CONTENTS OF SHELF: HVAC blower wheels                                    1
    364          1            0 LOT CONTENTS OF SHELF: HVAC blower wheels                                    1
    365          1            0 LOT CONTENTS OF SHELF: HVAC blower wheels                                    1
    366          1            0 LOT CONTENTS OF SHELF: (2) large enclosures                                  1
   366A          1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 10 T. cap.                             1
   366B          1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 5 T. cap.                              1
   366C          1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 5 T. cap.                              1
   366D          1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 5 T. cap.                              1
   366E          1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 2-1/2 T. cap.                          1
   366F          1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 2-1/2 T. cap.                          1
   366G          1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 5 T. cap.                              1
   366H          1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 2-1/2 T. cap.                          1
    366I         1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 2-1/2 T. cap.                          1
    366J         1            0 AIR CONDITIONING COMPRESSOR, EMERSON, 2-1/2 T. cap.                          1
   366K          1            0 LOT    OF AIR  CONDITIONING       COMPRESSORS, RECHI PRECISION,    1 T.      1
                                cap.
    368          1            0 LOT CONTENTS OF SHELF: panel assembly, terminal blocks, cutter boxes,        1
                                end covers, etc.
    369          1            0 LOT CONTENTS OF SHELF: top/front assembly's, misc. a/c components            1
    370          1            0 LOT CONTENTS OF SHELF: air conditioning grills, panel covers, etc.           1
    371          1            0 LOT CONTENTS OF SHELF: heating elements & strips                             1
    372          1            0 LOT CONTENTS OF SHELF: conduit, HVAC blower wheels                           1
    373          1            0 LOT CONTENTS OF SHELF: extreme low ambient controls, transformers,           1
                                3-pole contactors, etc.
    374          1            0 LOT CONTENTS OF SHELF: capacitors, terminal blocks, toggle switches, etc. 1
    375          1            0 LOT CONTENTS OF SHELF: bridge clamps                                         1
    376          1            0 LOT CONTENTS OF SHELF: conduit, metal cable                                  1
    377          1            0 LOT CONTENTS OF SHELF: washable filters                                      1
    378          1            0 LOT CONTENTS OF SHELF: Koch air conditioning filters, 12 x 24 x 2, 12 x 24 1
                                x 4, 16 x 20 x 2, etc.
    379          1            0 LOT CONTENTS OF SHELF: Filterbuy air conditioning filters, 20 x 24 x 4, 18 x 1
                                24 x 4, etc.
    380          1            0 LOT CONTENTS OF SHELF: Perfect Pleat & Filterbuy air conditioning            1
                                filters,18 x 24 x 2, 12 x 24 x 2, etc.
    381          1            0 LOT CONTENTS OF SHELF: Air Handler & Filterbuy air conditioning filters, 24 1
                                x 24 x 2, 20 x 20 x 2, 18 x 25 x 2, etc.
    382          1            0 LOT CONTENTS OF SHELF: air conditioning grills                               1
    383          1            0 LOT CONTENTS OF SHELF: replacement a/c fan blades                            1
    384          1            0 LOT CONTENTS OF SHELF: blower assembly's                                     1
    385          1            0 LOT CONTENTS OF SHELF: HVAC blower wheels                                    1
    386          1            0 LOT CONTENTS OF SHELF: blower assembly's & vent hoods                        1
                                              PLANT & MACHINERY INC.                                         Page 10
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                                              HOUSTON, TX 77084
                                       (713) 691-4401 FAX (713) 672-7905
                                        HTTP://WWW.PMI-AUCTION.COM
                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                              Seller
    387          1            0 LOT CONTENTS OF SHELF: LED combo exit & emergency signs, fluorescent     1
                                bulbs, ducking, et.
    388          1            0 LOT CONTENTS OF SHELF: tile, sinks, vinyl wall base, etc.                1
    389          1            0 LOT CONTENTS OF SHELF: fittings, scrub pads, transformer, etc.           1
    390          1            0 LOT CONTENTS OF SHELF: filters, bulbs & grills                           1
    391          1            0 LOT CONTENTS OF SHELF: air conditioning parts, misc.                     1
    392          1            0 LOT CONTENTS OF SHELF: straps, swivel jacks & tarps                      1
    393          1            0 LOT CONTENTS OF SHELF: copper piping & conduits                          1
    394          1            0 LOT CONTENTS OF SHELF: Bard evaporator blow motors, w/ ECM controls      1
    395          1            0 LOT CONTENTS OF SHELF: Bard evaporator blow motors, w/ ECM controls      1
    396          1            0 LOT CONTENTS OF SHELF: dual shaft. evaporator blower motors, for class   1
                                (1) division (2)
    397          1            0 LOT CONTENTS OF SHELF: dual shaft. evaporator blower motors, for class   1
                                (1) division (2)
    398          1            0 LOT CONTENTS OF SHELF: dual shaft. evaporator blower motors, for class   1
                                (1) division (2)
    399          1            0 LOT CONTENTS OF SHELF: single shaft, Hazardous Location motors           1
    400          1            0 LOT CONTENTS OF SHELF: single shaft, Hazardous Location motors           1
    401          1            0 LOT CONTENTS OF SHELF: dual shaft evaporation motors, 1/6 HP             1
    402          1            0 LOT CONTENTS OF SHELF: dual shaft evaporation motors, 1/6 HP             1
    403          1            0 LOT CONTENTS OF SHELF: dual shaft evaporation motors, 1/3 HP             1
    404          1            0 LOT CONTENTS OF SHELF: dual shaft evaporation motors, 1/6 HP             1
    405          1            0 LOT CONTENTS OF SHELF: dual shaft condenser motors, 1/3 HP               1
    406          1            0 LOT CONTENTS OF SHELF: dual shaft condenser motors, 1/5 HP               1
    407          1            0 LOT CONTENTS OF SHELF: dual shaft condenser motors, 1/5 HP               1
    408          1            0 LOT CONTENTS OF SHELF: dual shaft condenser motors                       1
    409          1            0 LOT CONTENTS OF SHELF: small electrical motors                           1
    411          1            0 LOT CONTENTS OF SHELF: electric motors, various HP                       1
    412          1            0 LOT CONTENTS OF SHELF: electric motors, various HP                       1
    413          1            0 ELECTRICAL MOTOR, MARATHON. 10 HP (in one box)                           1
    414          1            0 LOT OF ELECTRICAL MOTORS, DAYTON, 1/20 HP                                1
    415          1            0 VENTILATION FAN, ROSENBERG, large (new in box)                           1
    416          1            0 VENTILATION FAN, ROSENBERG, medium (new in box)                          1
    417          1            0 LOT CONTENTS OF SHELF: Wieland tag marking strips                        1
    418          1            0 LOT CONTENTS OF SHELF: Wieland tag marking strips                        1
    419          1            0 LOT CONTENTS OF SHELF: Selco disc. thermostats                           1
    420          1            0 LOT CONTENTS OF SHELF: thermostats, pressure sensors, brackets, etc.     1
    421          1            0 LOT CONTENTS OF SHELF: electrical wire connectors, ferrules direct       1
    423          1            0 LOT CONTENTS OF SHELF: sealing washers, outlet receptacles, enclosure    1
                                latches
    424          1            0 LOT CONTENTS OF SHELF: S.S. latches, marking strips, nylon insert nuts   1
    425          1            0 LOT CONTENTS OF SHELF: push button ADA let's, explosion-proof mini       1
                                resets, brackets, weights
    426          1            0 LOT CONTENTS OF SHELF: pin connectors, barbed adaptors, remote input     1
                                harnesses
    427          1            0 LOT CONTENTS OF SHELF: round spacers, enclosure warning labels, wire     1
                                harnesses
    428          1            0 LOT CONTENTS OF SHELF: rubber grommets, hole grommets, shaft gaskets     1
    429          1            0 LOT CONTENTS OF SHELF: gaskets & clear hose                              1
    430          1            0 LOT CONTENTS OF SHELF: fitting nuts, elbows, flares                      1
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                                               HOUSTON, TX 77084
                                        (713) 691-4401 FAX (713) 672-7905
                                         HTTP://WWW.PMI-AUCTION.COM
                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                               Seller
    431          1            0 LOT CONTENTS OF SHELF: Yaskawa variable frequency drives                   1
    432          1            0 LOT CONTENTS OF SHELF: Delta variable frequency drives                     1
    433          1            0 LOT CONTENTS OF SHELF: Delta variable frequency drives                     1
    434          1            0 LOT CONTENTS OF SHELF: Delta variable frequency drives                     1
    435          1            0 LOT CONTENTS OF SHELF: Delta variable frequency drives                     1
    436          1            0 LOT CONTENTS OF SHELF: power supplies, power relays, etc.                  1
    437          1            0 LOT CONTENTS OF SHELF: Triad transformers                                  1
    438          1            0 LOT CONTENTS OF SHELF: DPDT relays, Delay on break timers & relay          1
                                sockets
    439          1            0 LOT CONTENTS OF SHELF: extension cords, solid state AC motor speed fan 1
                                controls, & thermostats
    440          1            0 LOT CONTENTS OF SHELF: solid state relays, contactors & relays             1
    441          1            0 LOT CONTENTS OF SHELF: 1/2'' NPT male to female 90 deg. Elbows, cable 1
                                clamps, etc.
    442          1            0 LOT CONTENTS OF SHELF: gages, epoxy putty & clamps                         1
    443          1            0 LOT CONTENTS OF SHELF: thermostats, United electrical controls             1
    444          1            0 LOT CONTENTS OF SHELF: strobe lights, gas sensor, etc.                     1
    445          1            0 LOT CONTENTS OF SHELF: relays & controls                                   1
    446          1            0 LOT CONTENTS OF SHELF: digital programmable thermostats & relays           1
    447          1            0 LOT CONTENTS OF SHELF: thermostats & conduit hubs                          1
    448          1            0 LOT CONTENTS OF SHELF: pressure switches, speed controls, relays, etc.     1
    449          1            0 LOT CONTENTS OF SHELF: stopping plugs, electrical pins, Term-lok cables 1
    450          1            0 LOT CONTENTS OF SHELF: Molex connectors                                    1
    451          1            0 LOT    CONTENTS   OF SHELF: programmable thermostats, United electrical    1
                                controls
    452          1            0 LOT CONTENTS OF SHELF: thick closed cell gaskets, EAC fitting sealing      1
                                gasket
    453          1            0 LOT CONTENTS OF SHELF: gaskets                                             1
    454          1            0 LOT CONTENTS OF SHELF: O-rings, grommets& pop-in-bushings                  1
    455          1            0 LOT CONTENTS OF SHELF: bushings                                            1
    456          1            0 LOT CONTENTS OF SHELF: insulating, snap-in plastic bushings                1
    457          1            0 LOT CONTENTS OF SHELF: threaded plugs, nylon spacers & hole plugs          1
    458          1            0 LOT CONTENTS OF SHELF: round rocker switches, bushings & lock nuts         1
    459          1            0 LOT CONTENTS OF SHELF: corner angles, bean clamps, etc.                    1
    460          1            0 LOT CONTENTS OF SHELF: anchors, saddle wire, rope clips, wire rope &       1
                                thimbles
    461          1            0 LOT CONTENTS OF SHELF: threaded studs & steel turn buckles                 1
    462          1            0 LOT CONTENTS OF SHELF: conduit hub plugs & 18'' x 20'' plastic bags        1
    463          1            0 LOT CONTENTS OF SHELF: latches, plunger lock brackets, etc.                1
    464          1            0 LOT CONTENTS OF SHELF: drawer slides, handles & latches                    1
    465          1            0 LOT CONTENTS OF SHELF: hinges & reinforced nylon exterior mount            1
                                handles/lock
    466          1            0 LOT CONTENTS OF SHELF: 2-hole corner & angles                              1
    467          1            0 LOT CONTENTS OF SHELF: nuts, bolts & rods                                  1
    468          1            0 LOT CONTENTS OF SHELF: high/ low pressure switches                         1
    469          1            0 LOT CONTENTS OF SHELF: delay on break timer, rivets, Hex hardware          1
    470          1            0 LOT CONTENTS OF SHELF: contact tip holders, nozzle kits, ceramic diffusors 1
                                & pressure switches
    471          1            0 LOT CONTENTS OF SHELF: capacitors, window or wall room air conditioner 1
                                filters, etc.
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                                        (713) 691-4401 FAX (713) 672-7905
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                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                               Seller
    472          1            0 LOT CONTENTS OF SHELF: probes, thermal expansion valves, rigid offset      1
                                nipples
    473          1            0 LOT CONTENTS OF SHELF: liquid indicators, site glasses & liquid lime dyers 1
    474          1            0 LOT CONTENTS OF SHELF: ODF solder filter/ drier low ambient controls &     1
                                liquid indicators
    475          1            0 LOT CONTENTS OF SHELF: 2-stage heat/ cooling controllers, tube expansion 1
                                valve, etc.
    476          1            0 LOT CONTENTS OF SHELF: valves, expansion & hot gas bypass                  1
    477          1            0 LOT CONTENTS OF SHELF: low ambient controls, valves, etc.                  1
    478          1            0 LOT CONTENTS OF SHELF: adjustable clamps, expansion valves, etc.           1
    479          1            0 LOT CONTENTS OF SHELF: pressure gages & low ambient temperature            1
                                control accessories
    480          1            0 LOT CONTENTS OF SHELF: Deox-it, multi-shaft grip tight max high pressure 1
                                test plugs & pressure gages
    481          1            0 LOT CONTENTS OF SHELF: copper elbow fittings, vacuum gages, etc.           1
    482          1            0 LOT CONTENTS OF SHELF: Hex hardware, clamps, etc.                          1
    483          1            0 LOT CONTENTS OF SHELF: Dwyer pressure transmitters                         1
    484          1            0 LOT CONTENTS OF SHELF: pressure transmitters, hinges & thumb screws        1
    485          1            0 LOT CONTENTS OF SHELF: pressure switches, lock-nuts, solenoid & motor 1
                                speed controls
    486          1            0 LOT CONTENTS OF SHELF: electrical connectors                               1
    487          1            0 LOT CONTENTS OF SHELF: pneumatic gages, electrical connectors & relay 1
    488          1            0 LOT CONTENTS OF SHELF: clip-on nuts & strut-spring nuts                    1
    489          1            0 LOT   CONTENTS    OF  SHELF:   strut-spring nuts                           1
    490          1            0 LOT CONTENTS OF SHELF: latches, blind rivet washers & cable tie mounts     1
    491          1            0 LOT CONTENTS OF SHELF: Titan H.D. capacitors                               1
    492          1            0 LOT CONTENTS OF SHELF: capacitors                                          1
    493          1            0 LOT CONTENTS OF SHELF: capacitor brackets                                  1
    494          1            0 LOT CONTENTS OF SHELF: bug screens, cable mounts & NPT fittings            1
    495          1            0 LOT CONTENTS OF SHELF: Hex hubs & NPT fittings                             1
    496          1            0 LOT CONTENTS OF SHELF: grounded clamps, pan head machine screws & 1
                                blower mounting rings
    497          1            0 LOT CONTENTS OF SHELF: electrical gang boxes                               1
    498          1            0 LOT CONTENTS OF SHELF: electrical gang boxes                               1
    499          1            0 LOT CONTENTS OF SHELF: S.S. outlet box covers & J-box voltage brackets 1
    500          1            0 LOT CONTENTS OF SHELF: conduit cord grips                                  1
    501          1            0 LOT CONTENTS OF SHELF: rigid conduit cord grips & insert tees              1
    502          1            0 LOT CONTENTS OF SHELF: bulkhead tank fittings & PVC inserts, etc.          1
    503          1            0 LOT CONTENTS OF SHELF: 1/2'' NPT (5-hole cable dia. 16'')                  1
    504          1            0 LOT CONTENTS OF SHELF: Smart relay expansion modules &RES base             1
                                modules
    505          1            0 LOT CONTENTS OF SHELF: power supplies & 24 VDC                             1
    506          1            0 LOT CONTENTS OF SHELF: Smart relay/ expansion modules                      1
    507          1            0 LOT CONTENTS OF SHELF: A/C control parts                                   1
    508          1            0 LOT CONTENTS OF SHELF: compressor terminal repair kit, screw hooks, etc. 1
    509          1            0 LOT CONTENTS OF SHELF: One-series electronic pressure & temperature        1
                                switches & United electric controls
    510          1            0 LOT CONTENTS OF SHELF: beam clamps                                         1
    511          1            0 LOT CONTENTS OF SHELF: Flowtech mini size flow switch, compositors, etc. 1
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                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                                Seller
    512          1            0 LOT CONTENTS OF SHELF: circle bulkhead connectors, low profile             1
                                connectors, & low profile right angle adaptors
    513          1            0 LOT CONTENTS OF SHELF: terminal block cross connectors, fuse block         1
                                midget fuse, etc.
    514          1            0 LOT CONTENTS OF SHELF: relays                                              1
    515          1            0 LOT CONTENTS OF SHELF: terminal blocks                                     1
    516          1            0 LOT CONTENTS OF SHELF: disconnect remote handles, disconnect ground        1
                                pole, disconnect switches
    517          1            0 LOT CONTENTS OF SHELF: miniature adjustable pressure switches              1
    518          1            0 LOT CONTENTS OF SHELF: selector switches                                   1
    519          1            0 LOT CONTENTS OF SHELF: power feed contact blocks, gaskets, etc.            1
    520          1            0 LOT CONTENTS OF SHELF: pressure transmitter, disconnect remote shaft,      1
                                control panel mount, etc.
    521          1            0 LOT CONTENTS OF SHELF: power distribution block, terminal blocks &         1
                                ground lugs
    522          1            0 LOT CONTENTS OF SHELF: industrial control transformer & Hazardous          1
                                location plugs
    523          1            0 LOT CONTENTS OF SHELF: 15-20-25 amp breaker fuses & transformer            1
    524          1            0 LOT CONTENTS OF SHELF: soap dispensers                                     1
    525          1            0 LOT CONTENTS OF SHELF: relays, transformers & SSR                          1
    526          1            0 LOT CONTENTS OF SHELF: relays & general purpose                            1
    527          1            0 LOT CONTENTS OF SHELF: relays                                              1
    528          1            0 LOT CONTENTS OF SHELF: coil contactors, relays, etc.                       1
    529          1            0 LOT CONTENTS OF SHELF: transformers & relays                               1
    530          1            0 LOT CONTENTS OF SHELF: contactors                                          1
    531          1            0 LOT CONTENTS OF SHELF: O-ring gasket making kit & H-D clamps               1
    532          1            0 LOT CONTENTS OF SHELF: Unistrict end cap & Standard carbon fiber brush     1
    533          1            0 LOT CONTENTS OF SHELF: safety glasses & foam ear plugs                     1
    534          1            0 LOT CONTENTS OF SHELF: Economy strapping tape & painters masking           1
                                tape
    535          1            0 LOT CONTENTS OF SHELF: exterior screws & misc. supplies                    1
    536          1            0 LOT CONTENTS OF SHELF: Jig saw blades, marking pens & foam brushes         1
    537          1            0 LOT CONTENTS OF SHELF: sanding belts                                       1
    538          1            0 LOT CONTENTS OF SHELF: bandsaw blades                                      1
    539          1            0 LOT CONTENTS OF SHELF: PPS paint pot liner cups                            1
    540          1            0 LOT CONTENTS OF SHELF: PPS paint pot liner cups & cotton tipped            1
                                applicators
    541          1            0 LOT CONTENTS OF SHELF: TCD Global graduated mixing cups                    1
    542          1            0 LOT CONTENTS OF SHELF: filter covers, filter retainer, system component    1
    543          1            0 LOT CONTENTS OF SHELF: particulate filters, steel wool, atomizing heads,   1
                                etc.
    544          1            0 LOT CONTENTS OF SHELF: silicone sealant, respirator wipes & plastic drop   1
                                cloths
    545          1            0 LOT CONTENTS OF SHELF: evap foam no rinse, condenser coil cleaner &        1
                                orange glow
    546          1            0 LOT OF PALLET RACK SECTIONS (2), 12' x 16' x 3-1/2', w/ wood inserts       1
                                (Note: two week delayed removal)
    547          1            0 LOT OF PALLET RACK SECTIONS (2), 12' x 16' x 3-1/2', w/ wood inserts       1
                                (Note: two week delayed removal)
                                               PLANT & MACHINERY INC.                                                     Page 14
                Case 24-80258 Document  3 Filed
                               1304 LANGHAM     in TXSB
                                            CREEK   DRIVE,on 08/31/24
                                                           SUITE 454  Page Printed:08/15/2024
                                                                           29 of 34           16:50
                                                HOUSTON, TX 77084
                                         (713) 691-4401 FAX (713) 672-7905
                                          HTTP://WWW.PMI-AUCTION.COM
                      Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.   Quantity     QtySold Description                                                                          Seller
    548          1            0 LOT OF PALLET RACK SECTIONS (3), 12' x 16' x 3-1/2', w/ wood inserts                  1
                                (Note: two week delayed removal)
    549          1            0 LOT OF PALLET RACK SECTIONS (3), 12' x 16' x 3-1/2', w/ wood inserts                  1
                                (Note: two week delayed removal)
    550          1            0 LOT OF PALLET RACK SECTIONS (3), 12' x 16' x 3-1/2', w/ wood inserts                  1
                                (Note: two week delayed removal)
    551          1            0 LOT OF PALLET RACK SECTIONS (2), 12' x 16' x 3-1/2', w/ wood inserts                  1
                                (Note: two week delayed removal)
    552          1            0 LOT OF PALLET RACK SECTIONS (2), 12' x 16' x 3-1/2', w/ wood inserts                  1
                                (Note: two week delayed removal)
    553          1            0 LOT OF PALLET RACK SECTIONS (2), (1) 12' x 16' x 3-1/2', & (1) 9' x 16' x             1
                                3-1/2', w/ wood inserts (Note: two week delayed removal)
    554          1            0 LOT OF LIGHT DUTY SHELF SECTIONS (3), 3' x 1-1/2' x 7' (Note: two week 1
                                delayed removal)
    555          1            0 LOT OF LIGHT DUTY SHELF SECTIONS (6), 3' x 1-1/2' x 6' (Note: two week 1
                                delayed removal)
    556          1            0 LOT OF LIGHT DUTY SHELF SECTIONS (6), 3' x 1-1/2' x 6' (Note: two week 1
                                delayed removal)
    557          1            0 LOT OF LIGHT DUTY SHELF SECTIONS (6), 3' x 1-1/2' x 6' (Note: two week 1
                                delayed removal)
    558          1            0 LOT OF LIGHT DUTY SHELF SECTIONS (6), 3' x 1-1/2' x 6' (Note: two week 1
                                delayed removal)
    559          1            0 LOT OF LIGHT DUTY SHELF SECTIONS (6), 3' x 1-1/2' x 6' (Note: two week 1
                                delayed removal)
    560          1            0 LOT CONTENTS OF 2-DOOR CABINETS (2): cleaning supplies, mop,                          1
                                brooms, toilet paper, trash bags (cabinets included)
    561          1            0 FORKLIFT, TOYOTA 6,500-LB. BASE CAP. MDL. 8FGCU32, Mfg. 2020, LPG 2
                                engine, 83'' 2-stage mast, 131'' lift ht., cushion tires, 42'' forks, S/N C0590
    562          1            0 FORKLIFT, TOYOTA 5,000-LB. BASE CAP. MDL. 8FGCU25, Mfg. 2020, LPG 2
                                engine, 83'' 2-stage mast, 189'' lift ht., side shift, cushion tires, 42'' forks, S/N
                                C4949
    563          1            0 FORKLIFT, CATERPILLAR 5,000-LB. BASE CAP. MDL. 2C5000, Mfg. 2017,                     2
                                LPG engine, 83'' 2-stage mast, 189'' lift ht., side shift, cushion tires, 42'' forks,
                                S/N AT9045626
    564          1            0 FORKLIFT, TOYOTA 5,000-LB. BASE CAP. MDL. 8FGCU25, 78'' 3-stage                       1
                                mast, 21'' lift ht., 3,400-lb. lift cap. at max. lift ht., LPG engine, side shift,
                                cushion tires, 60'' forks, S/N 11788
   564A          1            0 FORKLIFT, TOYOTA 3,000-LB. BASE CAP. MDL. 2FBCA15, electrric, 3-stage 1
                                mast, cushion tires, 36'' forks, S/N 2FBCA15-13262
    565          1            0 ELECTRIC ORDER PICKER, CROWN 3,000-LB. BASE CAP. MDL. 3525,                           1
                                240ö max. lift ht., w/ V Force charger, S/N 1A378308
    567          1            0 LOT OF ORDER PICKER RAIL GUIDES                                                       1
    568          1            0 STEEL DOCK PLATE                                                                      1
    569          1            0 ALUMINUM DOCK PLATE                                                                   1
    570          1            0 FORKLIFT MAN BASKET                                                                   1
    571          1            0 FLOOR SCRUBBER, ADVANCE SC900, 55.2 hours                                             1
   571A          1            0 LOT OF FORKLIFT EXTENSIONS                                                            1
    572          1            0 ELECTRICAL ENCLOSURE, 6' x 19' x 10'                                                  1
    573          1            0 ELECTRICAL ENCLOSURE, 6' x 19' x 10'                                                  1
    574          1            0 ELECTRICAL ENCLOSURE, 8' x 8' x 10'                                                   1
                                                  PLANT & MACHINERY INC.                          Page 15
                    Case 24-80258 Document  3 Filed
                                   1304 LANGHAM     in TXSB
                                                CREEK   DRIVE,on 08/31/24
                                                               SUITE 454  Page Printed:08/15/2024
                                                                               30 of 34           16:50
                                                    HOUSTON, TX 77084
                                             (713) 691-4401 FAX (713) 672-7905
                                              HTTP://WWW.PMI-AUCTION.COM
                          Unsold Lot Report For Auction: BEBCO ENVIRONMENTAL CONTROLS #1764
Lot Num.      Quantity      QtySold Description                                               Seller
    575              1            0 LOT OF BEBCO HAZARDOUS LOCATION CLIMATE UNITS             1
    576              1            0 LOT OF AIR FLOW STACKS                                    1

    TBD              3           0   Wood Executive Desk                                      1
    TBD              5           0   Wood L Desk                                              1
    TBD              25          0   Work Chairs                                              1
    TBD              24          0   Conference Chairs                                        1
    TBD              1           0   6 Section Work Stationsw w/ File Cabinets & Chairs       1
    TBD              9           0   Metal Desk                                               1
    TBD              13          0   Wood Book Case/File Cabinet/Table                        1
    TBD              16          0   Metal Bookcase/File Cabinet                              1
    TBD              1           0   Copier                                                   1
    TBD              2           0   Full Size Refrigerator                                   1
    TBD              1           0   Comact Fridge                                            1
    TBD              1           0   Comact Fridge                                            1
    TBD              1           0   Microwave w/ Stand                                       1
    TBD              1           0   12' x 3' Conference Table                                1
    TBD              1           0   8' x 3' Conference Table                                 1
    TBD              3           0   Monitors                                                 1
    TBD              3           0   Couch                                                    1
    TBD              1           0   Coat Rack                                                1
    TBD              1           0   Reception Desk                                           1




   Number of Lots : 587
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Case 24-80258 Document 3 Filed in TXSB on 08/31/24 Page 32 of 34
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